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                             UNITED STATES DISTRICT COURT

                            SOUTHERN DISTRICT OF NEW YORK


 JAMES CARTER,                                    Case No.:

                           Plaintiff,             Complaint For:

                 vs.                              (1) Violation of § 14 (a) of the Securities
                                                      Exchange Act of 1934
 RESOLUTE FOREST PRODUCTS INC.,                   (2) Violation of § 20(a) of the Securities
 DUNCAN K. DAVIES, BRADLEY P.                         Exchange Act of 1934
 MARTIN, RANDALL C. BENSON,
 SUZANNE BLANCHET, JENNIFER C.
 DOLAN, REMI G. LALONDE, ALAIN                     JURY TRIAL DEMANDED
 RHÉAUME, and MICHAEL S.
 ROUSSEAU,

                           Defendants.


       Plaintiff, James Carter (“Plaintiff”), by and through his attorneys, alleges upon information

and belief, except for those allegations that pertain to him, which are alleged upon personal

knowledge, as follows:

                                 SUMMARY OF THE ACTION

       1.       Plaintiff brings this stockholder action against Resolute Forest Products Inc.

(“Resolute” or the “Company”) and the Company’s Board of Directors (the “Board” or the

“Individual Defendants,” and collectively with the Company, the “Defendants”), for violations of

Sections 14(a) and 20(a) of the Securities and Exchange Act of 1934 (the “Exchange Act”) as a




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result of Defendants’ efforts to sell the Company to Domtar Corporation (“Domtar”) and Karta

Halten B.V. (“Karta Halten”), affiliates of Paper Excellence B.V. (“Parent”), through merger

vehicle Terra Acquisition Sub Inc. (“Merger Sub” and collectively with Domtar, Karta Halten, and

Parent, “Paper Excellence”) as a result of an unfair process, and to enjoin an upcoming stockholder

vote on a proposed all cash transaction (the “Proposed Transaction”).

       2.       The terms of the Proposed Transaction were memorialized in a July 6, 2022, filing

with the Securities and Exchange Commission (“SEC”) on Form 8-K attaching the definitive

Agreement and Plan of Merger (the “Merger Agreement”). Under the terms of the Merger

Agreement, each existing share of Resolute’s common stock will be converted into the right to

receive $20.50 in cash, without interest and one contingent value right (“CVR”) entitling the owner

to a share of the potential refund of deposits made in respect of softwood lumber duties paid by

the Company to the U.S. Treasury as of June 30, 2022.

       3.       Thereafter, on August 5, 2022, Resolute filed a Preliminary Proxy Statement on

Schedule PREM14A (the “Preliminary Proxy Statement Statement”) with the SEC in support of

the Proposed Transaction

       4.       The Proposed Transaction is unfair for a number of other reasons. Significantly,

the Preliminary Proxy Statement describes an insufficient process in which the Board rushed

through an inadequate “sales process” without explanation as to whether a committee of

disinterested directors was formed to evaluate the Proposed Transaction and if so, what powers

they had in doing so.

       5.       Further, the Preliminary Proxy describes an insufficient process in which no pre-

transaction market check was performed to search for potentially interested third parties and

evaluate strategic alternatives.




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         6.       Next, it appears as though the Board has entered into the Proposed Transaction to

procure for itself and senior management of the Company significant and immediate benefits with

no thought to Plaintiff, as well as the Company’s public stockholders. For instance, pursuant to

the terms of the Merger Agreement, upon the consummation of the Proposed Transaction, Board

Members and executive officers will be able to exchange all Company equity awards for the

merger consideration.

         7.       In violation of the Exchange Act, on August 5, 2022, Defendants caused to be filed

the materially deficient Preliminary Proxy Statement. The Preliminary Proxy Statement is

materially deficient, and is thus in violation of the Exchange Act. As detailed below, the

Preliminary Proxy Statement omits and/or misrepresents material information concerning, among

other things: (a) the sales process and in particular certain conflicts of interest for management;

(b) the financial projections for Resolute and Paper Excellence, provided by Resolute and Paper

Excellence management to the Board’s financial advisor CIBC World Markets Corp.

(“CIBCWM”) and (c) the data and inputs underlying the financial valuation analyses, if any, that

purport to support the fairness opinion created by CIBCWM and provided to the Company and the

Board.

         8.       Absent judicial intervention, the Proposed Transaction will be consummated,

resulting in irreparable injury to Plaintiff. This action seeks to enjoin the Proposed Transaction.

                                               PARTIES

         9.       Plaintiff is a citizen of Texas and, at all times relevant hereto, has been a Resolute

stockholder.

         10.      Defendant Resolute together with its subsidiaries, operates in the forest products

industry in the United States, Canada, Mexico, and internationally. Resolute is incorporated in




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Delaware and has its principal place of business at 1010 De La Gauchetière Street West, Suite 400,

Montreal, Quebec, Canada H3B 2N2. Shares of Resolute common stock are traded on the New

York Stock Exchange under the symbol “RFP”.

        11.      Defendant Duncan K. Davies (“Davies”) has been a Director of the Company at all

relevant times. In addition, Davies serves as the Chairman of the Board of Directors.

        12.      Defendant Bradley P. Martin (“Martin”) has been a director of the Company at

all relevant times.

        13.      Defendant Randall C. Benson (“Benson”) has been a director of the Company

at all relevant times.

        14.      Defendant Suzanne Blanchet (“Blanchet”) has been a director of the Company

at all relevant times.

        15.      Defendant Jennifer C. Dolan (“Dolan”) has been a director of the Company at

all relevant times.

        16.      Defendant Remi G. Lalonde (“Lalonde”) has been a director of the Company at

all relevant times. In addition, Lalonde serves as the Company’s Chief Executive Officer (“CEO”)

and President.

        17.      Defendant Alain Rhéaume (“Rhéaume”) has been a director of the Company at

all relevant times.

        18.      Defendant Michael S. Rousseau (“Rousseau”) has been a director of the

Company at all relevant times.

        19.      Defendants identified in ¶¶ 11 - 18 are collectively referred to as the “Individual

Defendants.”




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        20.     Non-Party Paper Excellence is a diversified manufacturer of pulp and paper,

including printing and writing, packaging, and specialty papers.

        21.     Non-party Domtar is a leading provider of a wide variety of fiber-based products

including communication, specialty and packaging papers, market pulp and airlaid nonwovens.

        22.     Non-party Karta Halten B.V. is an affiliate of Paper Excellence created to effectuate

the merger.

        23.     Non-Party Merger Sub is a wholly owned subsidiary of Paper Excellence created

to effectuate the Proposed Transaction.

                                   JURISDICTION AND VENUE

        24.     This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act. This action is not a collusive one to

confer jurisdiction on a court of the United States, which it would not otherwise have. The Court

has supplemental jurisdiction over any claims arising under state law pursuant to 28 U.S.C. § 1367.

        25.     Personal jurisdiction exists over each defendant either because the defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over defendant by this Court permissible under

traditional notions of fair play and substantial justice.

         26.    Venue is proper in this District pursuant to 28 U.S.C. § 1391, because each of the

 Individual Defendants, as Company officers or directors, has extensive contacts within this

 District; for example, the Company’s stock trades on the New York Stock Exchange which is

 headquartered in this District.




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                              SUBSTANTIVE ALLEGATIONS


Company Background

       27.    Resolute is a global leader in the forest products industry with a diverse range of

products, including market pulp, tissue, wood products and papers, which are marketed in over 60

countries. The company owns or operates some 40 facilities, as well as power generation assets,

in the United States and Canada. Resolute has third-party certified 100% of its managed woodlands

to internationally recognized sustainable forest management standards. The shares of Resolute

trade under the stock symbol RFP on both the New York Stock Exchange and the Toronto Stock

Exchange.

       28.    The Company’s most recent financial performance press release, revealing

financial results from the quarter preceding the announcement of the Proposed Transaction,

indicated impressive financial success. For example, in the May 5, 2022 press release announcing

its 2022 Q1 financial results, the Company highlighted Adjusted EBITDA of $270 million and Q1

GAAP income of $210 million.

       29.    Speaking on the positive results, CEO Defendant Lalonde said, “We further

strengthened the balance sheet with significant cash generation and improved the competitiveness

of our business with two tuck-in acquisitions,” ….. “Our earnings and cash position reflect

favorable pricing momentum in all of our segments, but the transportation network improvements

were slower than expected, which led to lower sales volume and higher inventory levels. With our

strong balance sheet and liquidity well over $1 billion, we benefit from enhanced flexibility to

generate long-term value for shareholders and to drive sustainable economic activity in the

communities where we operate.”




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        30.     The sustained financial success and impressive results are not an anomaly, but

rather, are indicative of a trend of continued future potential success by Resolute. Clearly, based

upon the positive outlook, the Company is likely to have tremendous future success.

        31.     Despite this upward trajectory, the Individual Defendants have caused Resolute to

enter into the Proposed Transaction without providing requisite information to Resolute

stockholders such as Plaintiff.

The Flawed Sales Process

        32.     As detailed in the Preliminary Proxy Statement, the process deployed by the

Individual Defendants was flawed and inadequate, was conducted out of the self-interest of the

Individual Defendants, and was designed with only one concern in mind – to effectuate a sale of

the Company by any means possible.

        33.     Notably, the Company insiders agreed to a CVR which is contingent on the

resolution of a lumber dispute between the United States and Canada. While acknowledging the

uncertainty of recovery of the deposits underlying the CVR, the Preliminary Proxy fails to disclose

adequate reasoning as to why it was necessary to negotiate an uncertain form of consideration as

an alternative to up-front consideration on behalf of common stockholders.

        34.     The Preliminary Proxy Statement is silent as to whether a committee of

disinterested directors was created to run the sales process and if so, the specific powers the

committee was given in evaluating a potential transaction.

        35.     Additionally, the Preliminary Proxy Statement does not provide adequate reasoning

as to why no market check was conducted to evaluate potential third party offers and strategic

alternatives.

        36.     Further, the Preliminary Proxy describes a rushed process in which no pre-

transaction market check was conducted for potentially interested third parties.




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       37.     Moreover, the Preliminary Proxy Statement is silent as to the nature of any existing

confidentiality agreement entered into between the Company and Paper Excellence and whether

this agreement differed from any other agreement with potentially interested third parties discussed

and/or not specifically mentioned by the Preliminary Proxy Statement, if so in all specific manners,

including all specific terms of any such included “don’t-ask, don’t-waive” provisions or standstill

provisions contained therein, including, all specific conditions, if any, under which such provisions

would fall away.

        38.    It is not surprising, given this background to the overall sales process, that it was

conducted in a completely inappropriate and misleading manner.

The Proposed Transaction

       39.     On July 6, 2022, Resolute and Paper Excellence issued a joint press release

announcing the Proposed Transaction. The press release stated, in relevant part:

       MONTREAL, CANADA – July 6th, 2022 – The Paper Excellence Group (the
       “Group”), through its wholly-owned subsidiary Paper Excellence Corporation
       (“Paper Excellence”), a global diversified manufacturer of pulp and specialty,
       printing, writing, and packaging papers, and Resolute Forest Products Inc.
       (“Resolute”) (NYSE: RFP) (TSX: RFP), a global forest products company, have
       entered into an agreement under which Paper Excellence will acquire all of the
       outstanding common shares of Resolute stock.

       With this addition to its family of companies, the Paper Excellence Group will
       further build out its portfolio in North America following the successful acquisition
       of Paper Excellence last year.

       Patrick Loulou, vice chair and chief strategy officer of the Paper Excellence Group,
       commented, “We are excited to welcome Resolute and its employees to the Paper
       Excellence family. Resolute is an ideal fit for our long-term growth strategy. It
       complements our existing pulp, paper and packaging businesses and adds
       capabilities in lumber and tissue. We have seen firsthand that Resolute prides itself
       on its great people, strong assets and a culture of excellence going back more than
       two hundred years.”

       Resolute will become a wholly-owned subsidiary of Paper Excellence, under the
       auspices of the Group, and continue to operate on a business-as-usual basis under




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       the Resolute name. The Resolute management team will remain in place at the
       company’s headquarters. Considering the quality workforce available with
       Resolute and Paper Excellence, Montreal will become an important hub for the
       Group’s North American businesses. Furthermore, the Group plans to retain
       Resolute’s production locations and levels of jobs.

       Growing Together

       “With this transaction, Resolute will accelerate its growth as it gains access to more
       tools, capital and opportunities to pursue our ambitions with the combined
       resources of the Paper Excellence Group,” stated Remi G. Lalonde, Resolute’s
       president and chief executive officer. “This is good for employees and the
       communities where Resolute operates because we will continue to grow in a
       manner consistent with our core values of accountability, caring and trust that we
       hold dear. Together, we will form a stronger and more resilient, diversified forest
       products company, positioned to compete on a truly global scale, with a shared
       commitment to being a trusted business partner, dedicated to sustainability and to
       caring for its people and communities.”

       As part of its commitment to building a premier North American diversified forest
       products company and creating long-term growth, the Group intends to support
       Resolute management’s existing growth strategy, focused on strategic investments
       in its lumber and pulp businesses, and maximizing the value of its paper and tissue
       businesses. It also plans to undertake a detailed feasibility study for the eventual
       conversion of Resolute’s Gatineau, Quebec, newsprint mill to the production of
       packaging paper.

       “This is a good example of how the Paper Excellence Group’s diversified business,
       financial resources, and technical capabilities can open up new strategic avenues
       for assets that may otherwise face an uncertain future. This is but one example of
       our support and intention to implement significant investments aligned with
       Resolute’s strategic plan for the future,” concluded Mr. Loulou.

       Furthermore, the Group intends to form long-term partnerships with one or more
       universities in Quebec and Ontario to spearhead innovation in the field of fiber-
       based biomaterials.

Potential Conflicts of Interest

       40.     The breakdown of the benefits of the deal indicate that Resolute insiders are the

primary beneficiaries of the Proposed Transaction, not the Company’s public stockholders such as

Plaintiff. The Board and the Company’s executive officers are conflicted because they will have




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secured unique benefits for themselves from the Proposed Transaction not available to Plaintiff as

a public stockholder of Resolute.

         41.      Company insiders, currently own large, illiquid portions of Company stock all of

which will be exchanged for the merger consideration upon the consummation of the Proposed

Transaction, not shared amongst Plaintiff and other public stockholders of the Company. Notably,

the Preliminary Proxy Statement provides a partial accounting which fails to account for the value

in which these shares will be exchanged as follows:

                                                              Number of
                                                              Shares of
                                                              Company                  Percentage of
                                                            Common Stock               Outstanding
                                                             Beneficially               Company
                                                               Owned                  Common Stock
         Randall C. Benson                                                   35,177                       *
         Suzanne Blanchet                                                    13,300                       *
         Duncan K. Davies                                                     3,360                       *
         Jennifer C. Dolan                                                   50,039                       *
         Sylvain A. Girard                                                    2,451                       *
         Yves Laflamme                                                          —                         *
         Remi G. Lalonde                                                     94,730                       *
         Bradley P. Martin                                                   65,101                       *
         Alain Rheaume                                                       70,600                       *
         Michael S. Rousseau                                                 90,600                       *
         Hugues Simon                                                         8,441                       *
         Richard Tremblay                                                   140,499                       *
         Jacques P. Vachon                                                    3,785                       *
         All Directors and Executive Officers as a group                    859,828                    1.12



         42.      Additionally, Company insiders, currently own large amounts of company options,

restricted stock units, and other equity awards, all of which will be exchanged for the merger

consideration upon the consummation of the Proposed Transaction, not shared amongst Plaintiff

and other public stockholders of the Company. These benefits are accounted for as follows:


                                                                                                    Value of
                                                                   Company                          Company
Non-Employee Director                                            DSUs/RSUs (#)                    DSUs/RSUs ($)
Randall C. Benson                                                           173,129                       3,549,145
Suzanne Blanchet                                                             55,304                       1,133,732
Duncan K. Davies                                                             28,707                         588,494
Jennifer C. Dolan                                                            25,061                         513,751




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Bradley P. Martin                                                             525,409                  10,770,885
Alain Rheaume                                                                 138,156                   2,832,198
Michael S. Rousseau                                                           138,156                   2,832,198


                                                                                                        Estimated
                                                                                                          Total
                                                     Company       Value of     Company    Value of       Cash
                                                      RSUs         Company       PSUs      Company     Consideration
Executive Officer                                      (#)         RSUs ($)       (#)      PSUs ($)         ($)
Sylvain A. Girard                                      41,058        841,689     46,308      949,314    1,791,003
Lori Kilgour                                           60,593      1,242,157     82,406    1,689,323    2,931,480
John Lafave                                            85,909      1,761,135    120,389    2,467,975    4,229,110
Remi G. Lalonde                                       237,391      4,866,516    308,030    6,314,615   11,181,131
Stephanie Leclaire                                     33,832        693,556     47,649      976,805    1,670,361
Patrice Minguez                                       121,508      2,490,914    170,783    3,501,052    5,991,966
Daniel Ouellet                                         72,919      1,494,840    104,283    2,137,802    3,632,642
Hugues Simon                                           57,176      1,172,108     67,569    1,385,165    2,557,273
Richard Tremblay                                      100,769      2,065,765    141,052    2,891,566    4,957,331


          43.       Moreover, certain employment agreements with certain Resolute executives, entitle

such executives to severance packages should their employment be terminated under certain

circumstances. These ‘golden parachute’ packages are significant, and will grant each director or

officer entitled to them millions of dollars, which is compensation not shared by Plaintiff. These

amounts are disclosed as follows:

                                                                          Perquisites/
     Name                            Cash ($)         Equity ($)          Benefits ($)          Total ($)
     Sylvain A. Girard                 2,262,530         1,791,003                15,175          4,068,708
     Remi G. Lalonde                   4,082,829        11,181,131               448,704         15,712,664
     Hugues Simon                      2,307,245         2,557,273                15,175          4,879,692
     Richard Tremblay                  2,014,397         4,957,331                27,134          6,998,861
     Yves Laflamme                           —           8,200,000                   —                  —
     Jacques P. Vachon                       —           4,648,806                   —                   —


          44.       The Preliminary Proxy Statement also fails to adequately disclose communications

regarding post-transaction employment during the negotiation of the underlying transaction must

be disclosed to stockholders. Communications regarding post-transaction employment during the

negotiation of the underlying transaction must be disclosed to stockholders. This information is

necessary for Plaintiff to understand potential conflicts of interest of management and the Board,

as that information provides illumination concerning motivations that would prevent fiduciaries




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from acting solely in the best interests of the Company’s stockholders.

       45.       Thus, while the Proposed Transaction is not in the best interests of Resolute,

Plaintiff or Company stockholders, it will produce lucrative benefits for the Company’s officers

and directors.

The Materially Misleading and/or Incomplete Preliminary Proxy Statement

       46.       On August 5, 2022, the Resolute Board and Paper Excellence caused to be filed

with the SEC a materially misleading and incomplete Preliminary Proxy Statement that, in

violation the Exchange Act, failed to provide Plaintiff in his capacity as a Company stockholder

with material information and/or provides materially misleading information critical to the total

mix of information available to Plaintiff concerning the financial and procedural fairness of the

Proposed Transaction.

       Omissions and/or Material Misrepresentations Concerning the Sales Process leading up

       to the Proposed Transaction

       47.       Specifically, the Preliminary Proxy Statement fails to disclose material information

concerning the process conducted by the Company and the events leading up to the Proposed

Transaction. In particular, the Preliminary Proxy Statement fails to disclose:

                 a. Adequate reasoning as to why Company insiders agreed to a provision granting

                    a CVR rather than up-front consideration;

                 b. Specific information regarding whether a committee of the Board was created

                    to run the sales process and if so, what powers the board had;

                 c. Adequate information as to why no market check was performed;

                 d. Whether the confidentiality agreements entered into by the Company with

                    Paper Excellence differed from any other unnamed confidentiality agreement




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                 entered into between the Company and potentially interested third parties (if

                 any), and if so, in all specific manners;

              e. All specific conditions under which any standstill provision contained in any

                 entered confidentiality agreement entered into between the Company and

                 potentially interested third parties throughout the sales process, including Paper

                 Excellence, would fall away; and

              f. Communications       regarding    post-transaction   employment       during   the

                 negotiation of the underlying transaction must be disclosed to stockholders.

                 Communications       regarding    post-transaction   employment       during   the

                 negotiation of the underlying transaction must be disclosed to stockholders.

                 This information is necessary for stockholders to understand potential conflicts

                 of interest of management and the Board, as that information provides

                 illumination concerning motivations that would prevent fiduciaries from acting

                 solely in the best interests of Plaintiff and Company stockholders.

       Omissions and/or Material Misrepresentations Concerning Resolute’s Financial

       Projections

       48.    The Preliminary Proxy Statement fails to provide material information concerning

financial projections for Resolute provided by Resolute management to the Board, CIBCWM, and

relied upon by CIBCWM in their analyses.           The Preliminary Proxy Statement discloses

management-prepared financial projections for the Company which are materially misleading.

       49.    The Preliminary Proxy Statement should have, but fails to provide, certain

information in the projections that Resolute management provided to the Board and CIBCWM.

Courts have uniformly stated that “projections … are probably among the most highly-prized




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disclosures by investors. Investors can come up with their own estimates of discount rates or []

market multiples. What they cannot hope to do is replicate management’s inside view of the

company’s prospects.” In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del.

Ch. 2007)

       50.     With regard to the Forward-Looking Financial Information prepared by Resolute,

the Preliminary Proxy Statement fails to disclose material line items for important metrics.

               a. EBITDA after cash deposits for duties, including all underlying inputs, metrics,

                   and assumptions, including specifically: earnings (including the specific

                   included sub-metrics of account corporate selling, general and administrative

                   expense), interest expense, income taxes, depreciation and amortization, and

                   the value of cash deposits for countervailing and anti-dumping duties; and

               b. Unlevered Free Cash Flow, including all underlying inputs, metrics, and

                   assumptions, including specifically: cash deposits for duties, estimated cash

                   taxes, and other cash flow items.

       51.     This information is necessary to provide Plaintiff in his capacity as a Company

stockholder a complete and accurate picture of the sales process and its fairness. Without this

information, Plaintiff is not fully informed as to Defendants’ actions, including those that may

have been taken in bad faith, and cannot fairly assess the process.

       52.     Without accurate projection data presented in the Preliminary Proxy Statement,

Plaintiff is unable to properly evaluate the Company’s true worth, the accuracy of CIBCWM’s

financial analyses, or make an informed decision whether to vote in favor of the Proposed

Transaction. As such, the Board has violated the Exchange Act by failing to include such

information in the Preliminary Proxy Statement.




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       Omissions and/or Material Misrepresentations Concerning the Financial Analyses by

       CIBCWM

       53.     In the Preliminary Proxy Statement, CIBCWM describes its fairness opinion and

the various valuation analyses performed to render such opinion. However, the descriptions fail

to include necessary underlying data, support for conclusions, or the existence of, or basis for,

underlying assumptions. Without this information, one cannot replicate the analyses, confirm the

valuations or evaluate the fairness opinion.

       54.     With respect to the Valuation of the CVR analysis, the Preliminary Proxy Statement

fails to disclose the following:

               a. The inputs and metrics used to select a range of probability of recovery of 0-

                   80%; and

               b. The Company’s weighted average cost of capital.

       55.     With respect to the Publicly Traded Comparable Companies Analysis section, the

Preliminary Proxy Statement fails to disclose the following:

               a. The specific metrics for each company compared;

               b. The inputs, metrics, and assumptions used to determine an EV/2022E EBITDA

                   multiple range of 1.1x to 5.7x for the industry generally;

               c. The specific inputs, metrics, and assumptions used to determine an EV/2022E

                   EBITDA multiple range of 2.2x to 2.7x for the companies compared;

               d. The specific enterprise value for the Company; and

               e. The following sub metrics used to calculate the Company’s value per share:

                      i.   The Company’s net debt;

                     ii.   The net deficit of the pension fund;




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                    iii.   Minority interest; and

                    iv.    The value of cash and cash equivalents; and

                     v.    Any other adjustments deemed appropriate for this analysis.

       56.     With respect to the Precedent Transactions Analysis section, the Preliminary Proxy

Statement fails to disclose the following:

               a. The value of each transaction compared;

               b. The date on which each transaction compared closed;

               c. The specific metrics for each precedent transaction analyzed;

               d. The inputs, metrics, and assumption used to determine a value reference

                   multiple range of 1.0x to 8.4x;

               e. The specific inputs and assumptions used to determine an enterprise value/

                   LTM EBITDA multiple range of 2.6x to 3.1x; and

               f. The following sub metrics used to calculate the Company’s value per share:

                      i.   The Company’s net debt;

                     ii.   The net deficit of the pension fund;

                    iii.   Minority interest; and

                    iv.    The value of cash and cash equivalents; and

                     v.    Any other adjustments deemed appropriate for this analysis.

       57.     With respect to the Discounted Cash Flow Analysis, the Preliminary Proxy

Statement fails to disclose the following:

               a. The inputs, metrics, and assumptions used to determine perpetual growth rates

                   ranging from -1.0% to 1.0%;

               b. The terminal value of the Company;




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               c. The estimated value of the Company’s tax assets;

               d. The inputs metrics, and assumptions used to determine discount rates ranging

                   from 11.25% and 12.25%;

               e. The Company’s weighted average cost of capital;

               f. The levered and unlevered betas for the Company;

               g. The tax rates utilized for the Company for purposes of this analysis;

               h. The adjustment used for the market risk premium; and

               i. The following sub metrics used to calculate the Company’s value per share:

                      i.   The Company’s net debt;

                    ii.    The net deficit of the pension fund;

                    iii.   Minority interest;

                    iv.    The value of cash and cash equivalents; and

                     v.    Any other adjustments deemed appropriate for this analysis.

       58.     These disclosures are critical for Plaintiff to be able to make an informed decision

on whether to vote in favor of the Proposed Transaction.

       59.     Without the omitted information identified above, Plaintiff is missing critical

information necessary to evaluate whether the proposed consideration truly maximizes his value

and serves his interest as a stockholder. Moreover, without the key financial information and

related disclosures, Plaintiff cannot gauge the reliability of the fairness opinion and the Board’s

determination that the Proposed Transaction is in his best interests as a public Resolute

stockholder. As such, the Board has violated the Exchange Act by failing to include such

information in the Preliminary Proxy Statement.




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                                          FIRST COUNT

                        Violations of Section 14(a) of the Exchange Act

                                     (Against All Defendants)

       60.     Plaintiff repeats all previous allegations as if set forth in full herein.

       61.     Defendants have disseminated the Preliminary Proxy Statement with the intention

of soliciting stockholders, including Plaintiff, to vote in favor of the Proposed Transaction.

       62.     Section 14(a) of the Exchange Act requires full and fair disclosure in connection

with the Proposed Transaction. Specifically, Section 14(a) provides that:

       It shall be unlawful for any person, by the use of the mails or by any means or

       instrumentality of interstate commerce or of any facility of a national securities

       exchange or otherwise, in contravention of such rules and regulations as the [SEC]

       may prescribe as necessary or appropriate in the public interest or for the protection

       of investors, to solicit or to permit the use of his name to solicit any proxy or consent

       or authorization in respect of any security (other than an exempted security)

       registered pursuant to section 78l of this title.

       63.     As such, SEC Rule 14a-9, 17 C.F.R. 240.14a-9, states the following:

       No solicitation subject to this regulation shall be made by means of any proxy

       statement, form of proxy, notice of meeting or other communication, written or

       oral, containing any statement which, at the time and in the light of the

       circumstances under which it is made, is false or misleading with respect to any

       material fact, or which omits to state any material fact necessary in order to make

       the statements therein not false or misleading or necessary to correct any statement




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       in any earlier communication with respect to the solicitation of a proxy for the same

       meeting or subject matter which has become false or misleading.

       64.     The Preliminary Proxy Statement was prepared in violation of Section 14(a)

because it is materially misleading in numerous respects and omits material facts, including those

set forth above. Moreover, in the exercise of reasonable care, Defendants knew or should have

known that the Preliminary Proxy Statement is materially misleading and omits material facts that

are necessary to render them non-misleading.

       65.     The Individual Defendants had actual knowledge or should have known of the

misrepresentations and omissions of material facts set forth herein.

       66.     The Individual Defendants were at least negligent in filing a Preliminary Proxy

Statement that was materially misleading and/or omitted material facts necessary to make the

Preliminary Proxy Statement not misleading.

       67.     The misrepresentations and omissions in the Preliminary Proxy Statement are

material to Plaintiff, and Plaintiff will be deprived of his entitlement to decide whether to vote his

shares in favor of the Proposed Transaction on the basis of complete information if such

misrepresentations and omissions are not corrected prior to the stockholder vote regarding the

Proposed Transaction.

                                        SECOND COUNT

                        Violations of Section 20(a) of the Exchange Act

                               (Against all Individual Defendants)

       68.     Plaintiff repeats all previous allegations as if set forth in full herein.

       69.     The Individual Defendants were privy to non-public information concerning the

Company and its business and operations via access to internal corporate documents, conversations




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and connections with other corporate officers and employees, attendance at management and

Board meetings and committees thereof and via reports and other information provided to them in

connection therewith. Because of their possession of such information, the Individual Defendants

knew or should have known that the Preliminary Proxy Statement was materially misleading to

Plaintiff in his capacity as a Company stockholder.

       70.     The Individual Defendants were involved in drafting, producing, reviewing and/or

disseminating the materially false and misleading statements complained of herein. The Individual

Defendants were aware or should have been aware that materially false and misleading statements

were being issued by the Company in the Preliminary Proxy Statement and nevertheless approved,

ratified and/or failed to correct those statements, in violation of federal securities laws. The

Individual Defendants were able to, and did, control the contents of the Preliminary Proxy

Statement. The Individual Defendants were provided with copies of, reviewed and approved,

and/or signed the Preliminary Proxy Statement before its issuance and had the ability or

opportunity to prevent its issuance or to cause it to be corrected.

       71.     The Individual Defendants also were able to, and did, directly or indirectly, control

the conduct of Resolute’s business, the information contained in its filings with the SEC, and its

public statements. Because of their positions and access to material non-public information

available to them but not the public, the Individual Defendants knew or should have known that

the misrepresentations specified herein had not been properly disclosed to and were being

concealed from Plaintiff and Company, and that the Preliminary Proxy Statement was misleading.

As a result, the Individual Defendants are responsible for the accuracy of the Preliminary Proxy

Statement and are therefore responsible and liable for the misrepresentations contained herein.




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       72.    The Individual Defendants acted as controlling persons of Resolute within the

meaning of Section 20(a) of the Exchange Act. By reason of their position with the Company, the

Individual Defendants had the power and authority to cause Resolute to engage in the wrongful

conduct complained of herein. The Individual Defendants controlled Resolute and all of its

employees. As alleged above, Resolute is a primary violator of Section 14 of the Exchange Act

and SEC Rule 14a-9. By reason of their conduct, the Individual Defendants are liable pursuant to

section 20(a) of the Exchange Act.

       WHEREFORE, Plaintiff demands injunctive relief, in his favor and against the Defendants,

as follows:

       A.     Enjoining the Proposed Transaction;

       B.     In the event Defendants consummate the Proposed Transaction, rescinding it and

       setting it aside or awarding rescissory damages to Plaintiff;

       C.     Directing the Individual Defendants to comply with the Exchange Act and

       disseminate a Preliminary Proxy Statement that does not contain any untrue statements of

       material fact and that states all material facts required in it or necessary to make the

       statements contained therein not misleading;

       D.     Awarding Plaintiff the costs of this action, including reasonable allowance for

       Plaintiff’s attorneys’ and experts’ fees; and

       E.     Granting such other and further relief as this Court may deem just and proper.




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                             DEMAND FOR JURY TRIAL

         Plaintiff hereby demands a jury on all issues which can be heard by a jury.


Dated: August 31, 2022                      BRODSKY & SMITH

                                      By: /s/ Evan J. Smith
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                                            Counsel for Plaintiff




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